           Case 1:17-cr-00164-JLT-SKO Document 99 Filed 03/14/19 Page 1 of 1

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 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                         CASE NO. 1:17 CR 00164 LJO-SKO
11
                                 Plaintiff,            ORDER TO DISMISS INDICTMENT
12
                           v.
13
     ALEX CASTRO PORTILLO,
14
                                Defendant.
15

16

17                                 ORDER TO DISMISS INDICTMENT

18          Upon application of the United States of America having filed a Motion to Dimiss the Indictment

19 pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure and by leave of court,

20          IT IS HEREBY ORDERED that the Indictment against Defendant ALEX CASTRO PORTILLO

21 is DISMISSED WITHOUT PREJUDICE.

22

23
     IT IS SO ORDERED.
24

25      Dated:    March 14, 2019                         /s/ Lawrence J. O’Neill _____
                                                UNITED STATES CHIEF DISTRICT JUDGE
26
27

28

     Order to Dismiss
30
